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        NO. ________________                           GALLATIN COUNTY CIRCUIT COURT
                                                                 DIVISION _____________
                                                                     JUDGE ___________


        LILLIAN ADAMS                                                               PLAINTIFF


        v.                                COMPLAINT


        LOVE’S TRAVEL STOPS & COUNTRY                                            DEFENDANTS
        STORES, INC.
        10601 N. Pennsylvania Avenue
        Oklahoma City, OK 73120

        Serve: CT Corporation System
               306 W. Main St.
               Suite 512
               Frankfort, KY 40601




                                                                                                           Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
        and

        SUBWAY WORLDWIDE, INC.
        325 Sub Way
        Milford, CT 06461

        Serve: Corporation Service Company
               421 West Main Street
               Frankfort, KY 40601

        and

        SUBWAY WORLDWIDE HOLDINGS, LLC.
        325 Sub Way
        Milford, CT 06461

        Serve: Corporation Service Company
               421 West Main Street
               Frankfort, KY 40601
                                                                                                           COM : 000001 of 000007




        and

        FOLDCRAFT Co. d/b/a PLYMOLD
        14400 Southcross Drive West
        Burnsville, MN 55306



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        Serve: Office of the Secretary of State
               Summons Branch
               700 Capital Ave., Ste. 86
               Frankfort, KY 40601


                                         *         *      *      *       *


               Comes the Plaintiff, Lillian Adams, by and through undersigned counsel, and for her

        cause of action against Love’s Travel Stops & Country Stores, Inc. (hereinafter “Love’s”),

        Subway Worldwide, Inc. (hereinafter “Subway Worldwide”), Subway Worldwide Holdings,

        LLC (hereinafter “Subway Holdings”), and Foldcraft Co. d/b/a Plymold (hereinafter

        “Foldcraft”), and hereby states as follows:




                                                                                                           Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
                                                       PARTIES

               1.      The incident giving rise to this action occurred in Sparta, Gallatin County,

           Kentucky.

               2.      At all times relevant hereto, the Plaintiff, Lillian Adams, resided in Madison,

           Jefferson County, Indiana.

               3.      At all times relevant hereto, Love’s owned, operated, managed, maintained and/or

           supervised a Love’s store and/or Subway restaurant at or around 499 Loves Drive, Sparta,

           Kentucky 41083 and/or 976 KY-1039, Sanders, KY 41803.

               4.      At all times relevant hereto, Love’s is a foreign corporation with its principal

           office located at 10601 N. Pennsylvania Avenue, Oklahoma City, OK 73120 and with a
                                                                                                           COM : 000002 of 000007




           Registered Agent in Kentucky at CT Corporation System, 306 W. Main Street, Suite 512,

           Frankfort, KY 40601. Defendant Love’s has the required minimum contacts in Gallatin

           County, Kentucky, to be subject to the jurisdiction of this Court.



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               5.     At all times relevant hereto, Defendant Subway Worldwide owned, operated,

           managed, maintained and/or supervised a Subway restaurant at or around 499 Loves Drive,

           Sparta, Kentucky 41083 and/or 976 KY-1039, Sanders, KY 41803.

               6.     At all times relevant hereto, Defendant Subway Worldwide is a foreign

           corporation with its principal office located at 325 Sub Way, Milford, CT 06461 and with a

           Registered Agent in Kentucky at Corporation Service Company, 421 West Main Street,

           Frankfort, KY 40601. Defendant Subway Worldwide has the required minimum contacts in

           Gallatin County, Kentucky, to be subject to the jurisdiction of this Court.

               7.     At all times relevant hereto, Defendant Subway Holdings owned, operated,

           managed, maintained and/or supervised a Subway restaurant at or around 499 Loves Drive,

           Sparta, Kentucky 41083 and/or 976 KY-1039, Sanders, KY 41803.




                                                                                                            Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
               8.     At all times relevant hereto, Defendant Subway Holdings is a foreign corporation

           with its principal office located at 325 Sub Way, Milford, CT 06461 and with a Registered

           Agent in Kentucky at Corporation Service Company, located at 421 West Main Street,

           Frankfort, KY 40601. Defendant Subway Holdings has the required minimum contacts in

           Gallatin County, Kentucky, to be subject to the jurisdiction of this Court.

               9.     At all times relevant hereto, Defendant Foldcraft was in the business of designing,

           manufacturing, constructing, assembling, inspecting, and selling various types of commercial

           seating devices, including restaurant chairs, which are supplied to and purchased by the other

           defendants.

               10.    At all times relevant hereto, Defendant Foldcraft is a foreign corporation with its
                                                                                                            COM : 000003 of 000007




           principal office located at 14400 Southcross Drive West, Burnsville, MN 55306. Defendant

           Foldcraft is a Minnesota corporation, not registered to do business in Kentucky, and must be




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           served via the Kentucky Secretary of State. Defendant Foldcraft has the required minimum

           contacts in Gallatin County, Kentucky, to be subject to the jurisdiction of this court.



                                        JURISDICTION AND VENUE

               11.     Plaintiff incorporates by reference, as if set forth fully herein, each and every

           averment, allegation and statement contained in all previous paragraphs of this Complaint.

               12.     Plaintiff’s claims fall within the subject-matter jurisdiction of this Court.

               13.     Plaintiff’s claims for damages fall within the jurisdictional minimum of this

           Court.

               14.     Venue is proper because the events giving rise to this action took place in Gallatin

           County, Kentucky.




                                                                                                              Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
                                                        FACTS

               15.     Plaintiff incorporates by reference, as if set forth fully herein, each and every

           averment, allegation and statement contained in all previous paragraphs of this Complaint.

               16.     On or about May 14, 2018, Plaintiff was seated in a chair that was manufactured

           by Foldcraft, and was owned and controlled by Defendants Love’s, Subway Worldwide, and

           Subway Holdings when the chair collapsed beneath the Plaintiff.

               17.     The Plaintiff fell to the floor, landing on her legs and buttocks, fracturing her

           coccyx and sacrum, bruising her leg, suffering a sciatica injury, and incurring a number of

           other injuries.
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                                                        CLAIMS

                                                 NEGLIGENCE

              18.    Plaintiff incorporates by reference, as if set forth fully herein, each and every

        averment, allegation and statement contained in all previous paragraphs of this Complaint.

              19.    Defendants Love’s, Subway Worldwide, and Subway Holdings, by and through

        their agents, ostensible agents, servants, employees, and/or representatives, had a duty to

        maintain and keep the premises safe for the use of individuals legally coming upon same,

        along with warning its invitees of all known dangerous conditions. Defendants had a duty to

        maintain the premises in a safe and reasonable manner.

              20.    Plaintiff was an invitee to the premises.

              21.    Defendants Love’s, Subway Worldwide, and Subway Holdings breached their




                                                                                                           Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
        duty to the Plaintiff by failing to maintain, keep safe, and warn the Plaintiff of the dangerous

        condition that led to the Plaintiff’s injury.

              22.    The Plaintiff would not have suffered her injury but for the negligence of the

        Defendants.

              23.    As a direct and proximate result of the negligent acts and/or omissions of the

        Defendants and its agents, the Plaintiff was caused to incur medical expenses both past and

        future, physical and mental pain and suffering both past and future, increased risk of harm,

        mental anguish and lost enjoyment of life.

              24.    The Plaintiff’s damages are in excess of the minimum dollar amount necessary to

        invoke the jurisdiction of this Court.
                                                                                                           COM : 000005 of 000007




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                                   MANUFACTURE PRODUCT LIABILITY

              25.    Plaintiff incorporates by reference, as if set forth fully herein, each and every

        averment, allegation and statement contained in all previous paragraphs of this Complaint.

              26.    Defendant Foldcraft is now and at all times relevant hereto was in the business of

        inspecting, manufacturing, constructing, assembling, and selling various types of commercial

        restaurant seating and tables, including chairs.

              27.    Defendants Love’s, Subway Worldwide, and Subway Holdings are a customer of

        Defendant Foldcraft and purchases chairs from Defendant Foldcraft for use across the

        country.

              28.    Defendants Love’s, Subway Worldwide, and Subway Holdings employed




                                                                                                          Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
        Defendant Foldcraft’s chairs on the premises.

              29.    At all times relevant hereto, Defendant Foldcraft negligently and carelessly

        manufactured, constructed, assembled, inspected, and sold the chairs that are employed by

        Defendants Love’s, Subway Worldwide, and Subway Holdings.

              30.    At all times relevant hereto, Defendant Foldcraft so negligently and carelessly

        manufactured, constructed, assembled, inspected, and sold the chairs that were dangerous

        and unsafe for its intended use.

              31.    The Plaintiff suffered the harm herein as a proximate result of the negligence and

        carelessness of Defendant Foldcraft.

              32.    As a direct and proximate result of the negligent acts and/or omissions of the
                                                                                                          COM : 000006 of 000007




        Defendants and its agents, the Plaintiff was caused to incur medical expenses both past and

        future, physical and mental pain and suffering both past and future, increased risk of harm,

        mental anguish and lost enjoyment of life.



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              33.    The Plaintiff’s damages are in excess of the minimum dollar amount necessary to

        invoke the jurisdiction of this Court.



        WHEREFORE, the Plaintiff, by and through undersigned counsel, respectfully demands

        judgment against the Defendants as follows:

                     1.     For an amount of compensatory damages that is fair and reasonable as

                            established by the evidence;

                     2.     For prejudgment interest from the date of injury until such time as

                            judgment is paid;

                     3.     For her costs herein expended; and

                     4.     For any and all other relief to which she may be entitled.




                                                                                                          Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
                                                           Respectfully Submitted,



                                                           /s/ Kevin Pride______________________
                                                           Kevin Pride
                                                           Pride Law Office, PLLC
                                                           119 South 7th Street, Suite 400
                                                           Louisville, KY 40202
                                                           Phone: (502) 587-6499
                                                           Fax: (502) 632-4313
                                                           Kevin@pridelawoffice.com
                                                           Attorney for Plaintiff Lillian Adams


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                                      COMMONWEALTH OF KENTUCKY
                                        GALLATIN CIRCUIT COURT
                                          CASE NO. 19-CI-00060


        LILLIAN ADAMS                                                                        PLAINTIFF

        v.                                           ANSWER

        LOVE’S TRAVEL STOPS & COUNTRY STORES, INC.,
        SUBWAY WORLDWIDE, INC., SUBWAY WORLDWIDE
        HOLDINGS, LLC and FOLDCRAFT CO D/B/A PLYMOLD,                                      DEFENDANT

                                                    * * * * *

               Come Defendants Love’s Travel Stops & Country Stores, Inc., Subway Worldwide, Inc.

        and Subway Worldwide Holdings, LLC (hereinafter “Love’s”), by counsel, and for their Answer

        to Plaintiff’s Complaint filed herein, states as follows:

               1.      Love’s admits the allegations of Complaint Paragraph 1.

               2.      Love’s is without knowledge or information sufficient to form a belief as to the

        truth of the allegations of Complaint Paragraph 2, and therefore denies same.

               3.      Love’s admits the allegations of Complaint Paragraph 3.

               4.      Love’s admits the allegations of Complaint Paragraph 4 to the extent it alleges

        Love’s principal office and registered agent. Love’s states that the remaining allegations of

        Complaint Paragraph 4 seeks a legal conclusion which Love’s is not qualified to provide, and

        therefore no response is required. To the extent a response is deemed required, Love’s is without

        knowledge or information sufficient to form a belief as to the truth of the remaining allegations

        of Complaint Paragraph 4, and therefore denies same.
                                                                                                            ANS : 000001 of 000008




               5.      Love’s denies the allegations of Complaint Paragraph 5.

               6.      Love’s admits the allegations of Complaint Paragraph 6 to the extent it alleges

        Subway Worldwide’s principal office and registered agent. Love’s states that the remaining



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        allegations of Complaint Paragraph 6 seeks a legal conclusion which Love’s is not qualified to

        provide, and therefore no response is required. To the extent a response is deemed required,

        Love’s is without knowledge or information sufficient to form a belief as to the truth of the

        remaining allegations of Complaint Paragraph 6, and therefore denies same

                 7.     Love’s denies the allegations of Complaint Paragraph 7.

                 8.     Love’s admits the allegations of Complaint Paragraph 8 to the extent it alleges

        Subway Holdings’ principal office and registered agent.        Love’s states that the remaining

        allegations of Complaint Paragraph 8 seeks a legal conclusion which Love’s is not qualified to

        provide, and therefore no response is required. To the extent a response is deemed required,

        Love’s is without knowledge or information sufficient to form a belief as to the truth of the

        remaining allegations of Complaint Paragraph 8, and therefore denies same.

                 9.     Love’s is without knowledge or information sufficient to form a belief as to the

        truth of the allegations of Complaint Paragraph 9, and therefore denies same

                 10.    Love’s is without knowledge or information sufficient to form a belief as to the

        truth of the allegations of Complaint Paragraph 10, and therefore denies same

                                         JURISDICTION AND VENUE

                 11.    Love’s repeats and incorporates by reference its responses to Paragraphs 1

        through 10 above as if fully set forth herein.

                 12.    Love’s states that the allegations of Complaint Paragraph 12 seek legal

        conclusions which Love’s is not qualified to provide, and therefore no response is required. To

        the extent a response is deemed required, Love’s is without knowledge or information sufficient
                                                                                                              ANS : 000002 of 000008




        to form a belief as to the truth of the allegations of Complaint Paragraph 12, and therefore denies

        same.




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                13.    Love’s states that the allegations of Complaint Paragraph 13 seek legal

        conclusions which Love’s is not qualified to provide, and therefore no response is required. To

        the extent a response is deemed required, Love’s is without knowledge or information sufficient

        to form a belief as to the truth of the allegations of Complaint Paragraph 13, and therefore denies

        same.

                14.    Love’s states that the allegations of Complaint Paragraph 14 seek legal

        conclusions which Love’s is not qualified to provide, and therefore no response is required. To

        the extent a response is deemed required, Love’s is without knowledge or information sufficient

        to form a belief as to the truth of the allegations of Complaint Paragraph 14, and therefore denies

        same.

                                                         FACTS

                15.    Love’s repeats and incorporates by reference its responses to Paragraphs 1

        through 15 above as if fully set forth herein.

                16.    Love’s denies the allegations of Complaint Paragraph 16.

                17.    Love’s is without knowledge or information sufficient to form a belief as to the

        truth of the allegations of Complaint Paragraph 17, and therefore denies same.

                                                     CLAIMS

                                                   NEGLIGENCE

                18.    Love’s repeats and incorporates by reference its responses to Paragraphs 1

        through 17 above as if fully set forth herein.

                19.    Love’s states that the allegations of Complaint Paragraph 19 seek legal
                                                                                                              ANS : 000003 of 000008




        conclusions which Love’s is not qualified to provide, and therefore no response is required. To

        the extent a response is deemed required, Love’s is without knowledge or information sufficient




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        to form a belief as to the truth of the allegations of Complaint Paragraph 19, and therefore denies

        same.

                20.    Love’s states that the allegations of Complaint Paragraph 20 seek legal

        conclusions which Love’s is not qualified to provide, and therefore no response is required. To

        the extent a response is deemed required, Love’s is without knowledge or information sufficient

        to form a belief as to the truth of the allegations of Complaint Paragraph 20, and therefore denies

        same.

                21.    Love’s denies the allegations of Complaint Paragraph 21.

                22.    Love’s denies the allegations of Complaint Paragraph 22.

                23.    Love’s denies the allegations of Complaint Paragraph 23.

                24.    Love’s states that the allegations of Complaint Paragraph 24 seek legal

        conclusions which Love’s is not qualified to provide, and therefore no response is required. To

        the extent a response is deemed required, Love’s is without knowledge or information sufficient

        to form a belief as to the truth of the allegations of Complaint Paragraph 24, and therefore denies

        same.

                                  MANUFACTURE PRODUCT LIABILITY

                25.    Love’s repeats and incorporates by reference its responses to Paragraphs 1

        through 24 above as if fully set forth herein.

                26.    Love’s is without knowledge or information sufficient to form a belief as to the

        truth of the allegations of Complaint Paragraph 26, and therefore denies same.

                27.    Love’s denies the allegations of Complaint Paragraph 27.
                                                                                                              ANS : 000004 of 000008




                28.    Love’s denies the allegations of Complaint Paragraph 28.




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                  29.   Love’s is without knowledge or information sufficient to form a belief as to the

        truth of the allegations of Complaint Paragraph 29, and therefore denies same.

                  30.   Love’s is without knowledge or information sufficient to form a belief as to the

        truth of the allegations of Complaint Paragraph 30, and therefore denies same.

                  31.   Love’s is without knowledge or information sufficient to form a belief as to the

        truth of the allegations of Complaint Paragraph 31, and therefore denies same.

                  32.   Love’s denies the allegations of Complaint Paragraph 32.

                  33.   Love’s states that the allegations of Complaint Paragraph 33 seek legal

        conclusions which Love’s is not qualified to provide, and therefore no response is required. To

        the extent a response is deemed required, Love’s is without knowledge or information sufficient

        to form a belief as to the truth of the allegations of Complaint Paragraph 33, and therefore denies

        same.

                                          AFFIRMATIVE DEFENSES

                  34.   Love’s states and alleges that each and every allegation contained in Plaintiff’s

        Complaint not specifically admitted herein is expressly denied. Love’s specifically denies any

        allegation of those Paragraphs to the extent they allege that Love’s is liable to Plaintiff for any

        alleged damages.

                  35.   Love’s affirmatively states and alleges that Plaintiff’s Complaint fails to state a

        claim upon which relief may be granted.

                  36.   Love’s affirmatively states and alleges that its conduct did not cause, proximately

        cause, solely cause or solely proximately cause the injuries and/or damages claimed by Plaintiff,
                                                                                                              ANS : 000005 of 000008




        if any.




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               37.     Love’s affirmatively states and alleges that Plaintiff’s alleged damages, if any,

        may have been caused, in whole or in part, by the aforementioned negligence of third parties

        over which Love’s had no control and for which Love’s is not liable. Love’s is entitled to

        indemnity, contribution, offset, apportionment or dismissal as a result of said negligence.

               38.     Love’s affirmatively states and alleges that Plaintiff’s alleged damages, if any,

        may have been caused, in whole or in part, by Plaintiff’s own conduct, over which Love’s had no

        control and for which Love’s is not liable; as such, Love’s’ alleged negligence, if proved, must

        be apportioned based upon Plaintiff’s comparative fault.

               39.     Love’s affirmatively states and alleges that Plaintiff’s damages, if any, were

        directly and proximately caused by Plaintiff’s failure to mitigate said damages.

               40.     Love’s affirmatively states and alleges that Plaintiff’s Complaint is barred for lack

        of jurisdiction, venue and insufficiency of service of process.

               41.     Love’s affirmatively states and alleges that Plaintiff’s Complaint is barred, in

        whole or in part, by the applicable statute of limitations or repose.

               42.     Love’s affirmatively states and alleges that Plaintiff’s Complaint is barred, in

        whole or in part, by the doctrine of laches, waiver and estoppel.

               43.     Love’s affirmatively states and alleges that Plaintiff’s Complaint is barred, in

        whole or in part, by any and all other affirmative defenses set forth by law.

               44.     Any allegation of Plaintiff’s Complaint not specifically admitted herein is denied.

        Love’s affirmatively states and alleges that the claims of the Plaintiff may be barred by

        additional defenses that may arise during the course of this litigation, which Love’s hereby
                                                                                                               ANS : 000006 of 000008




        expressly preserves the right to assert.




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                WHEREFORE, having answered Plaintiff’s Complaint in full, Love’s demands as

        follows:

                1.    That Plaintiff’s Complaint be dismissed in its entirety with prejudice as to Love’s

        Travel Stops & Country Stores, Inc., Subway Worldwide, Inc. and Subway Worldwide Holdings,

        LLC;

                2.    That judgment be entered for Love’s Travel Stops & Country Stores, Inc.,

        Subway Worldwide, Inc. and Subway Worldwide Holdings, LLC in an amount equal to their

        costs expended, and including a reasonable amount for their attorneys; and

                3.    Any and all other relief to which Love’s Travel Stops & Country Stores, Inc.,

        Subway Worldwide, Inc. and Subway Worldwide Holdings, LLC may now or hereafter appear

        entitled.

                                                    Respectfully submitted,

                                                    s:\ Robert C. Rives, IV
                                                    Robert C. Rives, IV
                                                    DINSMORE & SHOHL, LLP
                                                    101 South 5th Street, Suite 2500
                                                    Louisville, KY 40202
                                                    Telephone: (502) 540-2329
                                                    Fax: 502-581-8111
                                                    robert.rives@dinsmore.com

                                                    Counsel for Defendants
                                                    Love’s Travel Stops & Country Stores, Inc.,
                                                    Subway Worldwide, Inc. and
                                                    Subway Worldwide Holdings, LLC

                                                                                                            ANS : 000007 of 000008




Filed                 19-CI-00060    06/05/2019        7   Tammy Trimble, Gallatin Circuit Clerk
FiledCase:           19-CI-00060 06/05/2019
             2:19-cv-00079-DLB-CJS                   Tammy
                                      Doc #: 1-2 Filed:     Trimble,
                                                        06/11/19          15NOT
                                                                     Gallatin
                                                                  Page:       of 22ORIGINAL
                                                                              Circuit   Page ID#:DOCUMENT
                                                                                      -Clerk      20
                                                                             06/10/2019 02:18:21 PM
                                                                             25850-19

                                         CERTIFICATE OF SERVICE

                It is hereby certified that I electronically filed the foregoing Answer with the Clerk of the
        Court using the electronic filing system this 5th day of June, 2019, which will send notification of
        such filing to the following attorney(s) of record:

        Kevin Pride, Esq.
        Pride Law Office, PLLC
        119 S. 7th St., Suite 400
        Louisville, KY 40202

        Counsel for Plaintiff

                 It is further certified that a true and correct copy of the foregoing Answer was mailed by
        first class mail, postage pre-paid, to the following:

        Foldcraft Co. d/b/a Plymold
        c/o Office of the Secretary of State
        700 Capital Ave., Suite 86
        Frankfort, KY 40601


                                                      s:\ Robert C. Rives, IV
                                                      Counsel for Defendants
                                                      Love’s Travel Stops & Country Stores, Inc.,
                                                      Subway Worldwide, Inc. and
                                                      Subway Worldwide Holdings, LLC




                                                                                                                ANS : 000008 of 000008




Filed                  19-CI-00060    06/05/2019         8   Tammy Trimble, Gallatin Circuit Clerk
          Case: 2:19-cv-00079-DLB-CJS Doc #: 1-2 Filed: 06/11/19 Page: 16NOT
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 AOC-E-105        Sum Code: CI                                            06/11/2019  02:29:02  PM
 Rev. 9-14                                                          Case #: 19-CI-00060
                                                                          25850-19
                                                                    Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                    County: GALLATIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC., Defendant


   TO: CT CORPORATION SYSTEM
       306 W. MAIN STREET
       SUITE 512
       FRANKFORT, KY 40601
Memo: Related party is LOVE'S TRAVEL STOPS & COUNTRY STORES INC.

The Commonwealth of Kentucky to Defendant:
LOVE'S TRAVEL STOPS & COUNTRY STORES INC.

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.




                                                                                                                                   Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.




                                                         Gallatin Circuit Clerk
                                                         Date: 5/12/2019




                                                 Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
     To:

 Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                        , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00000033107
CIRCUIT: 19-CI-00060 Certified Mail
ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC.

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          Case: 2:19-cv-00079-DLB-CJS Doc #: 1-2 Filed: 06/11/19 Page: 17NOT
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                                                                                             22
 AOC-E-105        Sum Code: CI                                            06/11/2019  02:29:36  PM
 Rev. 9-14                                                          Case #: 19-CI-00060
                                                                          25850-19
                                                                    Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                    County: GALLATIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC., Defendant


   TO: CORPORATION SERVICE COMPANY
       421 WEST MAIN STREET
       FRANKFORT, KY 40601
Memo: Related party is SUBWAY WORLDWIDE INC.

The Commonwealth of Kentucky to Defendant:
SUBWAY WORLDWIDE INC.

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
document delivered to you with this Summons.




                                                         Gallatin Circuit Clerk
                                                         Date: 5/12/2019




                                                 Proof of Service
   This Summons was:

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     To:

 Not Served because:
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   Date:                        , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00000033108
CIRCUIT: 19-CI-00060 Certified Mail
ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC.

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          Case: 2:19-cv-00079-DLB-CJS Doc #: 1-2 Filed: 06/11/19 Page: 18NOT
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                                                                                             23
 AOC-E-105        Sum Code: CI                                            06/11/2019  02:30:12  PM
 Rev. 9-14                                                          Case #: 19-CI-00060
                                                                          25850-19
                                                                    Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                    County: GALLATIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC., Defendant


   TO: CORPORATION SERVICE COMPANY
       421 WEST MAIN STREET
       FRANKFORT, KY 40601
Memo: Related party is SUBWAY WORLDWIDE HOLDINGS LLC

The Commonwealth of Kentucky to Defendant:
SUBWAY WORLDWIDE HOLDINGS LLC

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
document delivered to you with this Summons.




                                                         Gallatin Circuit Clerk
                                                         Date: 5/12/2019




                                                 Proof of Service
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     To:

 Not Served because:
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   Date:                        , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00000033109
CIRCUIT: 19-CI-00060 Certified Mail
ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC.

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          Case: 2:19-cv-00079-DLB-CJS Doc #: 1-2 Filed: 06/11/19 Page: 19NOT
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                                                                                             24
 AOC-E-105        Sum Code: CI                                            06/11/2019  02:28:31  PM
 Rev. 9-14                                                          Case #: 19-CI-00060
                                                                          25850-19
                                                                    Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                    County: GALLATIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC., Defendant


   TO: FOLDCRAFT CO. D/B/A PLYMOLD
       14400 SOUTHCROSS DRIVE WEST
       BURNSVILLE, MN 55306

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.




                                                                                                                                   Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
                                                         Gallatin Circuit Clerk
                                                         Date: 5/12/2019




                                                 Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
     To:

 Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                        , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00000033106
CIRCUIT: 19-CI-00060 Long Arm Statute – Secretary of State
ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC.

                                                      Page 1 of 1
          Case: 2:19-cv-00079-DLB-CJS Doc #: 1-2 Filed: 06/11/19 Page: 20NOT
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 AOC-E-105        Sum Code: CI                                            06/11/2019  02:26:31  PM
 Rev. 9-14                                                          Case #: 19-CI-00060
                                                                          25850-19
                                                                    Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                    County: GALLATIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC., Defendant


   TO: LOVE'S TRAVEL STOPS & COUNTRY STORES INC.
       10601 N. PENNSYLVANIA AVENUE
       OKLAHOMA CITY, OK 73120
Memo: Registered Agent of Service exists.

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
document delivered to you with this Summons.




                                                         Gallatin Circuit Clerk
                                                         Date: 5/12/2019




                                                 Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
     To:

 Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                        , 20
                                                                                             Served By


                                                                                                Title

Summons ID: @00000033103
CIRCUIT: 19-CI-00060 Certified Mail
ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC.

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          Case: 2:19-cv-00079-DLB-CJS Doc #: 1-2 Filed: 06/11/19 Page: 21NOT
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 AOC-E-105        Sum Code: CI                                            06/11/2019  02:27:07  PM
 Rev. 9-14                                                          Case #: 19-CI-00060
                                                                          25850-19
                                                                    Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                    County: GALLATIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC., Defendant


   TO: SUBWAY WORLDWIDE INC.
       325 SUB WAY
       MILFORD, CT 06461
Memo: Registered Agent of Service exists.

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
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                                                                                                                                   Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
document delivered to you with this Summons.




                                                         Gallatin Circuit Clerk
                                                         Date: 5/12/2019




                                                 Proof of Service
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     To:

 Not Served because:
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   Date:                        , 20
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                                                                                                Title

Summons ID: @00000033104
CIRCUIT: 19-CI-00060 Certified Mail
ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC.

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          Case: 2:19-cv-00079-DLB-CJS Doc #: 1-2 Filed: 06/11/19 Page: 22NOT
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 AOC-E-105        Sum Code: CI                                            06/11/2019  02:27:34  PM
 Rev. 9-14                                                          Case #: 19-CI-00060
                                                                          25850-19
                                                                    Court: CIRCUIT
 Commonwealth of Kentucky
 Court of Justice  Courts.ky.gov                                    County: GALLATIN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC., Defendant


   TO: SUBWAY WORLDWIDE HOLDINGS LLC
       325 SUB WAY
       MILFORD, CT 06461
Memo: Registered Agent of Service exists.

The Commonwealth of Kentucky to Defendant:


   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
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                                                                                                                                   Presiding Judge: HON. RICHARD A. BRUEGGEMANN (654349)
document delivered to you with this Summons.




                                                         Gallatin Circuit Clerk
                                                         Date: 5/12/2019




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 Not Served because:
                                                                                                                                   CI : 000001 of 000001




   Date:                        , 20
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Summons ID: @00000033105
CIRCUIT: 19-CI-00060 Certified Mail
ADAMS, LILLIAN VS. LOVE'S TRAVEL STOPS & COUNTRY STORES INC.

                                                      Page 1 of 1
